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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Vampire Family Brands, LLC                                                 CASE NUMBER

                                                                                        2:20-cv-08223 ODW(PVCx)
                                                         PLAINTIFF(S)
                              v.
SC Cramele Recas SA, et al                                                         ORDER RE TRANSFER PURSUANT
                                                                                     TO GENERAL ORDER 19-03
                                                                                         (RELATED CASES)
                                                       DEFENDANT(S).

                                                                 CONSENT

      I hereby consent to the transfer of the above-entitled case to
                                                                  t my
                                                                     my calendar, pursuant
                                                                                  purssua
                                                                                       uant to
                                                                                            to General
                                                                                               Geneerraal Order
                                                                                                          Order 19-03.
                                                                                                                1199-03.

            September 10, 2020                                             Valerie Baker Fairbank
                  Date                                                     United
                                                                           U  it d States
                                                                                   St t District
                                                                                          Di t i t Judge
                                                                                                   J d

                                                              DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                                 United States District Judge

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case      2:06-cv-07793 VBF(JWJx)            and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                          NA                   to Magistrate Judge           NA                    .

           On all documents subsequently filed in this case, please substitute the initials           VBF   after the case number
in place of the initials of the prior judge, so that the case number will read          2:20-cv-08223 VBF(PVCx)    . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (03/19)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03 (Related Cases)
